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  9th Circuit Case Number(s) 12-16373


    NOTE: To secure your input, you should print the filled-in form to PDF (File > Print > PDF Printer/Creator).

*********************************************************************************
                           CERTIFICATE OF SERVICE
     When All Case Participants are Registered for the Appellate CM/ECF System
  I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the
  United States Court of Appeals for the Ninth Circuit by using the appellate CM/ECF system
  on (date)                            .

  I certify that all participants in the case are registered CM/ECF users and that service will be
  accomplished by the appellate CM/ECF system.

  Signature (use "s/" format)

*********************************************************************************
                          CERTIFICATE OF SERVICE
  When Not All Case Participants are Registered for the Appellate CM/ECF System
  I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the
  United States Court of Appeals for the Ninth Circuit by using the appellate CM/ECF system
  on (date)                            .
            April 1, 2013
  Participants in the case who are registered CM/ECF users will be served by the appellate
  CM/ECF system.

  I further certify that some of the participants in the case are not registered CM/ECF users. I
  have mailed the foregoing document by First-Class Mail, postage prepaid, or have dispatched it
  to a third party commercial carrier for delivery within 3 calendar days to the following
  non-CM/ECF participants:

  Judy Alexander
  Law Offices of Judy Alexander
  2302 Bobcat Trail
  Soquel, CA 95073




  Signature (use "s/" format)         /s/ Ellen Duncan
